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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                           *     CRIMINAL NO. 6:17-CR-00090-01


 VERSUS                                             *     JUDGE HICKS


 BRITTANY SANDERS (01)                              *     MAGISTRATE JUDGE HANNA


                  REPORT AND RECOMMENDATION
                               ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

guilty plea and allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned United States Magistrate Judge for a change of plea

hearing and allocution of the defendant, Brittany Sanders, on September 6, 2017. The defendant was

present with her counsel, Kay Karre’ Gautreaux.

        After the hearing, and for the reasons orally assigned, it is the finding of the undersigned that

the defendant is fully competent, that her plea of guilty is knowing and voluntary, and that her guilty

plea to Count 1 of the Indictment is fully supported by a written factual basis for each of the essential

elements of the offense.

        Additionally, the defendant voluntarily waived the fourteen day objection period that would

otherwise be available under 28 U.S.C. § 636. (Rec. Doc. 49).

        Therefore, the undersigned United States Magistrate Judge recommends that the District

Court ACCEPT the guilty plea of the defendant, Brittany Sanders, in accordance with the terms of
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the plea agreement filed in the record of these proceedings, and that Brittany Sanders be finally

adjudged guilty of the offense charged in Count 1 of the Indictment.

       THUS DONE AND SIGNED in chambers, at Lafayette, Louisiana, on September 15, 2017.




                                             ____________________________________
                                             PATRICK J. HANNA
                                             UNITED STATES MAGISTRATE JUDGE




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